      Case 7:24-cv-02333-PMH       Document 32     Filed 10/10/24   Page 1 of 1




                                 Jacob Felberbaum
10/9/2024

Attn:
The Hon. Philip M. Halpern
United States District Court
Southern District of New York
300 Quarropas St.
White Plains, NY 10601-4150


                                  Re: P.F. v Y.F.
                                24-CV-02333 (PMH)


Dear Honorable Judge Halpern,

My name is Jacob Felberbaum, on September 26th 2024, I've written a Letter to
the honorable judge, Docket no. 24 informing your honor about the signed
affidavit of service against me, that it's false.

Today on the 9th of October, I've received information that upon request from
plaintiff's attorney, the court clerk has signed a default judgment against me.

The clerk's signing a default judgment against me is obviously without any
consideration of my letter to the honorable judge, and without any consideration
of the fact that I was never served, as I've noted in my letter to the honorable
judge, that as of Aug 6th 2024, I'm not anymore residing at my old address of 80
Meron Road in Monsey NY, nor has anyone been residing at that address, who
can accept or has accepted service on my behalf.

I ask the honorable judge to please vacate the default judgment against me
signed by the clerk of the court,

I further ask the honorable judge to entirely dismiss this action, on the basis that I
was never served as required by law and ordered by the honorable judge.

Thank you for your consideration of this very important and relevant information.

Respectfully yours,


Jacob Felberbaum
